Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 1 of 20

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (JKF)
) Jointly Administered
Debtor. )
)
AFFIDAVIT OF SERVICE

STATE OF DELAWARE)
) 8s
NEW CASTLE COUNTY _ )

Cathy A. Adams, being duly sworn according to law, deposes and says that she is
employed by the law firm of Landis Rath & Cobb LLP, attorneys for PacifiCorp and the VanCott
Bagley Cornwall & McCarthy 401(k) Profit Sharing Plan in the above cases, and on the 14" day
of January, 2005, she caused a copy of the following:

PACIFICORP AND THE VANCOTT BAGLEY CORNWALL &
MCCARTHY 401(K) PROFIT SHARING PLAN’S
MOTION FOR LEAVE TO FILE LATE PROOFS OF CLAIM
to be served upon the parties identified on the attached list via first class mail (hand delivery in

the City of Wilmington, DE).

Cathy A. Kjam

SWORN TO AND SUBSCRIBED before me this 14" day of January, 2005.

Bubaraly Kost

Notary Public

BARBARA J. ROST
STATE OF DELAWARE

NOTARY PUBLIC
My Cezzmission Expires June 14, 2006

487.001-6579. DOC
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 2 of 20

W. R. Grace 2002 Service List
Case No. 01-1139 KF)

(Counsel to Debtors and Debtors in
Possession)

Laura Davis Jones, Esq.

Scotta McFarland, Esq.

Pachulski, Stang, Ziehl, Young, Jones
& Weintraub

919 North Market Street, 16th Floor
P.O. Box 8705

Wilmington, DE 19899-8705

(Copy Service)
Parcels, Inc.

Vito I. DiMaio

10th & King Streets
Wilmington, DE 19801

(Local Counsel to DIP Lender)
Steven M. Yoder, Esq.

The Bayard Firm

222 Delaware Avenue, Suite 900
P.O. Box 25130

Wilmington, DE 19899

(Local Counsel to Asbestos Claimants)
Marla Eskin, Esq.

Mark Hurford, Esq.

Campbell & Levine, LLC

800 N. King Street

#300

Wilmington, DE 19801-3549

William H. Sudell, Jr., Esq.

Eric D. Schwartz, Esq.

Morris, Nichols Arsht & Tunnell
1201 N. Market Street

P.O. Box 1347

Wilmington, DE 19899

(Counsel to Travelers Casualty and Surety
Company)

Robert J. Dehney

Michael G. Busenkell

Morris, Nichols Arsht & Tunnell

1201 N. Market Street

P.O. Box 1347

Wilmington, DE 19899

(Counsel to The Chase Manhattan Bank)
Mark D. Collins, Esq.

Deborah E. Spivack, Esq.

Richards, Layton & Finger, P.A.

One Rodney Square

P.O. Box 551

Wilmington, DE 19899

Jeffrey C. Wisler, Esq.

Michelle McMahon, Esq.
Connolly Bove Lodge & Hutz LLP
1220 Market Street, 10" Floor
Wilmington, DE 19899

(Counsel to Ingersoll-Rand Fluid Products)
Francis A. Monaco, Jr., Esq.

Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400

P.O. Box 2031

Wilmington, DE 19801

(Counsel to Ingersoll-Rand Fluid Products)
Frederick B. Rosner, Esq.

Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

(Counsel to Property Damage Claimants)
Michael B. Joseph, Esq.

Theodore J. Tacconelli, Esq.

Ferry & Joseph, P.A.

824 Market Street, Suite 904

P.O. Box 1351

Wilmington, DE 19899
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 3 of 20

Mark S. Chehi

Skadden, Arps, Slate, Meagher & Flom LLP
One Rodney Square

P.O. Box 636

Wilmington, DE 19899-0636

Joseph Grey, Esq.
Stevens & Lee

1105 North Market Street
7" Floor

Wilmington, DE 19801

(Counsel to Official Committee of
Unsecured Creditors)

Michael R. Lastowski, Esq.

Duane, Morris & Heckscher LLP
1100 North Market Street, Suite 1200
Wilmington, DE 19801-1246

Laurie Selber Silverstein, Esq.
Monica Leigh Loftin, Esq.
Potter Anderson & Corroon LLP
1313 N. Market Street, 6" Floor
P.O. Box 951

Wilmington, DE 19899

(United States Trustee)

Frank J. Perch, Esq.

Office of the United States Trustee
844 King Street, Suite 2207
Lockbox 35

Wilmington, DE 19801

(Counsel for General Electric Corporation)
Todd C. Schiltz, Esq.

Wolf, Block, Schorr and Solis-Cohen LLP
Wilmington Trust Center

1100 N. Market Street

Suite 1001

Wilmington, DE 19801

(Counsel to Century Indemnity Company)
Curtis Crowther, Esq.

White and Williams LLP

824 North Market Street, Suite 902

P.O. Box 709

Wilmington, DE 19801

(Counsel to First Union Leasing)
John D. Demmy, Esq.

Stevens & Lee, P.C.

1105 North Market Street

7" Floor

Wilmington, DE 19801

(Counsel to Potash Corp.)
Aaron A. Garber, Esq.
Pepper Hamilton LLP

1201 Market Street

Suite 1600

Wilmington, DE 19899-1709

(Counsel to Entergy Services, Inc.)
Eric Lopez Schnabel, Esq.

James H. Joseph, Esq.

Klett Rooney Lieber & Schorling
The Brandywine Building

1000 West Street, Suite 1410
Wilmington, DE 19801

(Zonolite Attic Litigation Plaintiffs)
William D. Sullivan, Esq.

Elzufon Austin Reardon Tarlov & Mondell,
P.A.

300 Delaware Avenue, Suite 1700

P.O. Box 1630

Wilmington, DE 19899

Thomas G. Macauley
Zuckerman Spaeder LLP
919 Market Street, Ste. 1705
Wilmington, DE 19801
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 4 of 20

(Counsel to Mark Hankin and HanMar
Associates)

Thomas G. Whalen, Esq.

Stevens & Lee, P.C.

1105 North Market Street

7" Floor

Wilmington, DE 19801

Teresa K.D. Currier, Esq.

Klett Rooney Lieber & Schorling
1000 West Street, Suite 1410
P.O. Box 1397

Wilmington, DE 19899-1397

(Counsel to Union Tank Car Company)
Rachel B. Mersky, Esq.

Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

(Counsel to Royal Insurance and U.S. Fire
Insurance Company)

Connor Bifferato, Esq.

Bifferato Gentilotti & Biden

1308 Delaware Avenue

P.O. Box 2165

Wilmington, DE 19899

(Counsel to The Delaware Division of
Revenue)

Allison E. Reardon

Delaware Division of Revenue

820 N. French Street

8" Floor

Wilmington, DE 19801

(Counsel to the Libby Mine Claimants)
Steven K. Kortanek, Esq.

Klehr, Harrison, Harvey, Branzburg &
Ellers, LLP

919 Market Street, Suite 1000
Wilmington, DE 19801

(L.A. Unified School District)
William F. Taylor, Jr., Esq.
McCarter & English, LLP
Mellon Bank Center

919 Market Street, Suite 1800
Wilmington, Delaware 19899

Frederick B. Rosner, Esq.

Jaspan Schlesinger Hoffman, LLP
1201 N. Orange Street

Suite 1001

Wilmington, DE 19801

(Counsel to Debtor)

James H.M. Sprayregen, Esq.
James Kapp, HI, Esq.
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

(Canadian Counsel to Debtor)
Derrick Tay, Esq.

Meighen Demers

Suite 1100, Box 11

Merrill Lynch Canada Tower
200 King Street West
Toronto, Ontario

Canada MSH 3T4

(W. R. Grace & Co.)
David B. Siegel

W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

(Official Committee of Personal Injury
Claimants)

Elihu Inselbuch, Esq.

Rita Tobin, Esq.

Caplin & Drysdale, Chartered

399 Park Avenue, 27" Floor

New York, NY 10022
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 5 of 20

(Official Committee of Unsecured
Creditors)

Lewis Kruger, Esq.

Stroock & Stroock & Lavan LLP
180 Maiden Lane

New York, NY 10038-4982

(Official Committee of Property Damage
Claimants)

Scott L. Baena, Esq.

Bilzin Sumberg Dunn Baena Price &
Axelrod LLP

First Union Financial Center

200 South Biscayne Blvd, Suite 2500
Miami, FL 33131

(Counsel to Equity Committee)

Philip Bentley, Esq.

Kramer Levin Naftalis & Frankel LLP
919 Third Avenue

New York, NY 10022-3852

(Counsel to Sealed Air Corporation)

D. J. Baker, Esq.

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square

New York, NY 10036

(Counsel to DIP Lender)
J. Douglas Bacon, Esq.
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

(Counsel to Asbestos Claimants)
Nancy Worth Davis, Esq.
Motley Rice LLC

28 Bridgeside Boulevard

P.O. Box 1792

Mount Pleasant, SC 29465

Todd Meyer, Esq.
Kilpatrick Stockton
1100 Peachtree Street
Atlanta, GA 30309

Office of Reorganization

Securities & Exchange Commission
Suite 1000

3475 Lenox Road, N.E.

Atlanta, GA 30326-1232

Internal Revenue Service
Attn: Insolvency

31 Hopkins Plaza, Room 1150
Baltimore, MD 21201

Michael A. Berman, Esq.
Securities and Exchange Commission
450 Fifth Street, N.W. (Mail Stop 6-6)
Washington, D.C. 20549

Secretary of Treasurer
P.O. Box 7040
Dover, DE 19903

Secretary of State
Division of Corporations
Franchise Tax

P.O. Box 7040

Dover, DE 19903

James D. Freeman, Esq.

U.S. Department of Justice
Environmental Enforcement Section
999 18™ Street

Suite 945-North Tower

Denver, CO 80202

Jon L. Heberling, Esq.
McGarvey, Heberling, Sullivan &
McGarvey PC

745 South Main Street

Kalispel, MT 59901

Patrick L. Hughes, Esq.

Haynes & Boone LLP

1000 Louisiana Street, Suite 4300
Houston, TX 77002-5012
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 6 of 20

David S. Heller, Esq.
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

Charles E. Boulbol, Esq.
26 Broadway, 17" Floor
New York, NY 10004

Ira S. Greene, Esq.

Hogan & Hartson LLP

875 Third Avenue

New York, NY 10022-6225

James A. Sylvester, Esq.
Intercat, Inc.

104 Union Avenue
Manasquan, NJ 08736

Steven J. Johnson, Esq.
Gibson, Dunn & Crutcher LLP
1530 Page Mill Road

Palo Alto, CA 94304-1125

Charlotte Klenke, Esq.
Schneider National, Inc.
P.O. Box 2545

3101 S. Packerland
Green Bay, WI 54306

David S. Rosenbloom, Esq.
Jeffrey E. Stone, Esq.
Lewis S. Rosenbloom, Esq.
McDermott, Will & Emery
227 West Monroe Street
Chicago, IL 60606-5096

Charles L. Finke, Assistant General Counsel
Brad Rogers, Esq.

Office of the General Counsel

Pension Benefit Guaranty Corp

1200 K. Street, N. W.

Washington, D.C. 20005-4026

Pamela Zilly

Richard Shinder
David Blechman
Michael Alexander
The Blackstone Group
345 Park Avenue
New York, NY 10154

Josiah Rotenberg
Quadrangle

375 Park Avenue
New York, NY 10152

Jan M. Hayden

William H. Patrick

Heller, Draper, Hayden, Patrick & Horn,
L.L.C.

650 Poydras Street, Suite 2500

New Orleans, LA 70130-6103

Joseph F. Rice

Motley Rice LLC

28 Bridgeside Blvd.
P.O. Box 1792

Mt. Pleasant, SC 29465

(Counsel to Asbestos Claimants)

Steven T. Baron, Esq.

Member

Silber Pearlman, LLP

2711 North Haskell Avenue, 5" Floor, LLP
Dallas, TX 75204

Bankruptcy Administration
IOS Capital, Inc.

1738 Bass Road

P.O. Box 13708

Macon, GA 31208-3708

(Attorneys for PPG Industries, Inc.)
W.J. Winterstein, Jr., Esq.

John J. Winter, Esq.

William M. Aukamp, Esq.

Eleven Penn Center, 29" Floor
1835 Market Street

Philadelphia, PA 19103
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 7 of 20

Alan R. Brayton, Esq.
Brayton & Purcell

222 Rush Landing Road
Novato, CA 94945

Jonathan W. Young

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

Russell W. Budd

Alan B. Rich

Baron & Budd, P.C.

3102 Oak Lawn Avenue, P.O. Box 8705
Dallas, TX 75219

Shelby A. Jordan, Esq.
‘Nathaniel Peter Holzer. Esq.

Jordan, Hyden, Womble & Culbreth, P.C.

500 N. Shoreline Blvd., Suite 900
Corpus Christi, TX 78471

Courtney M. Labson, Esq.

Ontario Mills LP

Legal Department

1300 Wilson Boulevard, Suite 400
Arlington, VA 22209

T. Kellan Grant

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

Cindy Schultz

Ingersoll-Rand Fluid Products
One Aro Center

P.O. Box 151

Bryan, OH 43506

Alan Kolod, Esq.

Moses & Singer LLP

1301 Avenue of the Americas
40" Floor

New York, NY 10019-6076

Mr. Thomas Moskie
Bankers Trust Company
Four Albany Street
Fourth Floor

New York, NY 10006

John P. Dillman, Esq.
Linebarger Heard Goggan Blair
Graham Pefia & Sampson, LLP
P.O. Box 3064

Houston, TX 77253-3064

Charles E. Gibson, III
Attorney at Law

620 North Street, Suite 100
Jackson, MS 39202

Paul M. Baisier, Esq.

SEYFARTH SHAW

1545 Peachtree Street
Suite 700

Atlanta, GA 30309

Christopher L. Beard, Esq.
The Beard Group

502 W. Patrick Street
Frederick, MD 21701-4002

Bernice Conn, Esq.

Robins, Kaplan, Miller & Ciresi LLP

2049 Century Park East, Suite 3700
Los Angeles, CA 90067

Steven R. Schlesinger, Esq.
Jaspan Schlesinger Hoffman LLP
300 Garden City Plaza

Garden City, NY 11530

Steven J. Kherkher, Esq.
Laurence G. Tien, Esq.

Williams Bailey Law Firm, L.L.P.
8441 Gulf Freeway, Suite #600
Houston, TX 77017
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 8 of 20

Kimberly W. Osenbaugh
Preston Gates & Ellis LLP
925 4" Avenue

Suite 2900

Seattle, WA 98104-1158

Delta Chemical Corporation
2601 Cannery Avenue
Baltimore, MD 21226-1595

Steven T. Hoort, Esq.
Ropes & Gray

One International Place
Boston, MA 02110-2624

Peter Van N. Lockwood, Esq.
Julie W. Davis, Esq.

Trevor W. Swett, III, Esq.
Nathan D. Finch, Esq.

Caplin & Drysdale, Chartered
One Thomas Circle, N.W.
Washington, DC 20005

Peter A. Chapman
572 Fernwood Lane
Fairless Hills, PA 19030

Paul M. Matheny

The Law Offices of Peter G. Angelos, P.C.

5905 Harford Rd.
Baltimore, MD 21214

Michael J. Urbis

Jordan, Hyden, Womble & Culbreth, P.C.
2390 Central Blvd, Suite G

Brownsville, TX 78520

Mary A. Coventry
Sealed Air Corporation
Park 80 East

Saddle Brook, NJ 07663

John M. Klamann

Klamann & Hubbard

7101 College Blvd., Suite 120
Overland Park, KS 66210

Joseph T. Kremer, Esq.

Lipsiptz, Green, Fahringer, Roll, Salisbury
& Cambria, LLP

42 Delaware Avenue, Suite 300

Buffalo, NY 14202

Paul D. Henderson, Esq.
Dies, Dies & Henderson
1009 W. Green Avenue
Orange, TX 77630

Robert Jacobs, Esq.
Maria Rosoff Eskin
Jacobs & Crumplar, P.A.
2 East 7" Street

P.O. Box 1271
Wilmington, DE 19899

Elizabeth S. Kardos, Esq.

Gibbons, Del Deo, Dolan Griffinger &
Vecchione, PC

One Riverfront Plaza

Newark, NJ 07102-5497

Thomas J. Noonan, Jr.

c/o R& S Liquidation Company
5 Lyons Mall PMB #530
Basking Ridge, NJ 07920-1928

Harry Lee, Esq.

George R. Calhoun, Esq.

March D. Coleman, Esq.
Steptoe & Johnson LLP

1330 Connecticut Avenue, N.W.
Washington, DC 20036

(Counsel to Public Service Electric and Gas
Company)

William E. Frese, Esq.

Attn: Sheree L. Kelly, Esq.

80 Park Plaza, T5D

P.O. Box 570

Newark, NJ 07101
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 9 of 20

(Counsel to Official Committee of
Unsecured Creditors)

William S. Katchen, Esq.

Duane, Morris & Heckscher LLP

1 Riverfront Plaza, 2"! Floor
Newark, NJ 07102

(Tennessee Department of Environment and
Conservation — Superfund)

Paul G. Sumers, Esq.

TN Attorney General’s Office, Bankr. Unit
P.O. Box 20207

Nashville, TN 37202-0207

(Counsel to numerous asbestos claimants)
Damon J. Chargois, Esq.

Foster & Sear, LLP

524 E. Lamar Blvd., Ste 200

Arlington, TX 76011

(Counsel to Berry & Berry)

C. Randall Bupp, Esq.

Plastiras & Terrizzi

24 Professional Center Parkway
Suite 150

San Rafael, CA 94903

Anton Volovsek
Rt2 — Box 200 #42
Kamiah, ID 83536-9229

(Counsel to Weatherford U.S. Inc., and
Weatherford International Inc.)

Peter S. Goodman, Esq.

Andrews & Kurth LLP

450 Lexington Avenue, 15" Floor
New York, NY 10017

Jonathan H. Alden, Esq.

Assistant General Counsel

3900 Commonwealth Boulevard, MS 35
Tallahassee, FL 32399-3000

State Library of Ohio

c/o Michelle T. Sutter

Revenue Recovery

101 E. Town Street, Second Floor
Columbus, OH 43215

Rosa Dominy

Bankruptcy Administration
IOS Capital, Inc.

1738 Bass Road

P.O. Box 13708

Macon, GA 31208-3708

Greif, Inc.

Attn: Credit Department
366 Greif Parkway
Delaware, OH 43015

(Counsel to SAP America, Inc.)
Stephanie Nolan Deviney
Brown & Connery, LLP

360 Haddon Avenue

P.O. Box 539

Westmont, NJ 08108

Barbara M. Cook, County Solicitor
Katherine L. Taylor, Senior Assistant
County Solicitor

Howard County Office of Law
George Howard Building ©

3430 Courthouse Drive

Ellicott City, MD 21043

Danice Sims
P.O. Box 66658
Baton Rouge, LA 70896

M. Diane Jasinski, Esq.

Michael D. Hess

Corporation Counsel of the City of New
York

100 Church Street, Room 6-127

New York, NY 10007
Case 01-01139-AMC

Janet Napolitano

Robert R. Hall

Russell W. Savory

1275 West Washington Street
Phoenix, AZ, 85007-1278

Russell W. Savory

Gotten, Wilson & Savory, PLLC
200 Jefferson Avenue, Suite 900
Memphis, TN 38103

Credit Manager

Belz Enterprises

100 Peabody Place, Suite 1400
Memphis, TN 38103

James P. Ruggeri

Scott A. Shail

Hogan & Harton L.L.P.

555 Thirteenth Street,.N.W.
Washington, D.C. 20004-1109

Steven R. Bourne, Esq.

Nutter, McClennen & Fish, LLP
155 Seaport Blvd

Boston, MA 02210-2604

Judy D. Thompson, Esq.
S. Andrew Jurs, Esq.
Poyner & Spruill, L.L.P.
One Wachovia Center
301 S. College Street
Suite 2300

Charlotte, NC 28202

Daniel H. Slate, Esq.

Hughes Hubbard & Reed LLP
350 South Grand Avenue

Los Angeles, CA 90071-3442

Andrea L. Hazzard, Esq.
Hughes Hubbard & Reed LLP
One Battery Park Plaza

New York, NY 10004-1482

Doc 7571-12 Filed 01/14/05 Page 10 of 20

Authur Stein, Esq.
1041 W. Lacey Road
P.O. Box 1070

Forked River, NJ 08731-6070

Robert H. Rosenbaum, Esq.
M. Evan Meyers, Esq.

Meyers, Rodbell & Rosenbaum, P.A.

Berkshire Building

6801 Kenilworth Avenue, Suite 400

Riverdale, MD 20737-1385

Maggie De La Rosa
Provost & Umphrey
Law Firm, L.L.P.

490 Park Street
Beaumont, TX 77701

Anne Marie P. Kelley, Esq.
Dilworth Paxson, LLP
Liberty View — Suite 700
457 Haddonfield Road
P.O. Box 2570

Cherry Hill, NJ 08034

Kevin James _

Deputy Attorney General
1515 Clay Street, 20" Floor
Oakland, CA 94612-1413

Dorine Vork, Esq.
Stibbe, P.C.

350 Park Avenue
New York, NY 10022

Suexirda Prayaga
7365 MacLeod Lane
Ofallon, MO 63366

Bart Hartman
Treasurer — Tax Collector
Attn: Elizabeth Molina

1600 Pacific Highway, Room 162

San Diego, CA 92101
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 11 of 20

David Aelvoet, Esq.

Linebarger Goggan Blair Graham Pena &
Sampson, LLP

Travis Park Plaza Building

711 Navarro, Suite 300

San Antonio, TX 78205

Robert Cimino, Esq.

Suffolk County Attorney

Attn: Diane Leonardo Beckmann, Asst.
County

H. Lee Dennison Building

100 Veterans Memorial Highway

P.O. Box 6100

Hauppauge, NY 11788-0099

(Counsel to Toyota Motor Credit)
Robert T. Aulgur, Jr., Esq.

P.O. Box 617

Odessa, DE 19730

(Counsel to Dow Chemical Company,
Hampshire Chemical Corporation and Union
Carbide Corporation)

Michael T. Kay, Esq.

Nancy Draves, Esq.

The Dow Chemical Company

2030 Dow Center

Midland, MI 48674

Anne Marie P. Kelley, Esq.
Dilworth Paxson, LLP
Liberty View — Suite 700
457 Haddonfield Road
Cherry Hill, NJ 08002

(Counsel to General Electric Capital
Corporation)

Ronald S. Beacher, Esq.

Pitney, Hardin, Kipp & Szuch LLP
685 3 Avenue

New York, NY 10017-4024

Attn: Diane Stewart

Peoples First Community Bank
P.O. Box 59950

Panama City, FL 32412-0950

(Counsel to Commissioner of Revenue)
Michael B. Willey, Esq.

Legal Services, 27" Floor

312 8" Avenue North

Nashville, TN 37243

Jeffrey L. Glatzer, Esq.
Anderson, Kill & Olick, P.C.
1251 Avenue of the Americas
New York, NY 10020-1182

Thomas V. Askounis, Esq.
Askounis & Borst, P.C.
303 East Wacker Drive
Suite 1000

Chicago, IL 60601

Attn: Ted Weschler

Peninsula Capital Advisors, L.L.C.
404 East Main Street

Second Floor

Charlottesville, VA 22902

E. Katherine Wells, Esq.

South Carolina Department of Health and
Environmental Control

2600 Bull Street

Columbia, SC 29201-1708

Melanie S. Kaufman
4160 Cesar Chavez Street
San Francisco, CA 94131

Michael H. Pinkerson, Esq.

James M. Garner, Esq.

Sher Garner Cahill Richter Klein McAlister
& Hilbert, L.L.C.

909 Poydras Street, Suite 2800

New Orleans, LA 70112
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 12 of 20

William H. Johnson, Esq.
Norfolk Southern Corporation
Law Department

Three Commercial Place
Norfolk, VA 23510-9242

(Counsel to Wells Fargo Bank Minnesota,
National Association)

Pillsbury Winthrop LLP

One Battery Park Plaza

New York, NY 10004-1490

(Counsel to Wells Fargo Bank Minnesota,
National Association)

Craig Barbarosh, Esq.

Pillsbury Winthrop LLP

650 Town Center Drive, 7" Floor

Costa Mesa, CA 92626-7122

(Counsel to Aldine Independent School
District)

Aldine Independent School District
Jonathan C. Hantke, Esq.

Pamela H. Walters, Esq.

14910 Aldine-Westfield Road
Houston, TX 77032

DAP Products, Inc.

c/o Julien A. Hecht, Esq.
2400 Boston Street, Suite 200
Baltimore, MD 21224

Steven B. Flancher, Esq.
Assistant Attorney General
Department of Attorney General
Revenue Division

First Floor Treasury Building
Lansing, MI 48992

(Counsel to Asbestos Claimants)
Deirdre Woulfe Pacheco, Esq.
Wilentz, Goldman & Spitzer

90 Woodbridge Center Drive
P.O. Box 10

Woodbridge, NJ 07095

(Counsel to LaVantage Solutions)
Matthew A. Porter, Esq.

Bernard J. Bonn III, Esq.

Dechert LLP

200 Clarendon Street, 27" Floor
Boston, MA 02116

(Counsel to Occidental Permian, Ltd.)
John W. Havins, Esq.

Burt Barr Havins & O’Dea, L.L.P.
1001 McKinney, Suite 500

Houston, TX 77002

(Counsel to The Texas Comptroller of
Public Accounts)

Mark Browning, Esq.

Assistant Attorney General

c/o Sherri K. Simpson, Legal Assistant
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548

Austin, TX 78711-2548

(Counsel to Century Indemnity Company)
Leonard P. Goldberger, Esq.

White & Williams LLP

1800 One Liberty Place

Philadelphia, PA 19103-7395

(Comptroller of Public Accounts of the State
of Texas)

Kay D. Brock, Esq.

Bankruptcy & Collections Division

P.O. Box 12548

Austin, TX 78711-2548

Cynthia C. Hemme, Esq.

Senior Counsel

Nortel Networks, Inc.

4010 E. Chapel Hill-Nelson Hwy.
Research Triangle Park, NC 27709
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 13 of 20

(Counsel to Anderson Memorial Hospital)
Daniel A. Speights, Esq.

Speights & Runyan

200 Jackson Avenue, East

P.O. Box 685

Hampton, SC 29924

(Counsel to WESCO Distribution, Inc.)
Julie Quagliano

Quagliano & Seeger

3243 P Street, NW

Washington, DC 20007

General Motors Acceptance Corporation
P.O. Box 5055
Troy, MI 48007-5055

(Counsel to Amalgamated Industries and
Service Workers Benefit Fund)

Judith Greenspan, Esq.

Associate Counsel

The Amalgamated Industries and Service
Workers Benefit Fund

730 Broadway

Tenth Floor

New York, NY 10003-9511

Donna J. Petrone, Esq.

ExxonMobil Chemical Company
Law Department — Bankruptcy
13501 Katy Freeway, Room W1-562
Houston, TX 77079-1398

(Counsel to Potash Corp.)
David W. Wirt, Esq.
Winston & Strawn

35 West Wacker Drive
Chicago, IL 60601

Alan H. Katz, Esq.

Entergy Services, Inc.

693 Loyola Avenue, Suite 2600
New Orleans, LA 70113

Sander L. Esserman

Stutzman Bromberg, Esserman & Plifka
A Professional Corporation

2323 Bryan Street

Dallas, TX 75201-2689

(Counsel to Huntsman Corporation)
Randall A. Rios

Floyd, Isgur, Rios & Wahrlich, P.C.
700 Louisiana, Suite 4600

Houston, TX 77002

(Zonolite Attic Litigation Plaintiffs)
Elizabeth J. Cabraser, Esq.

Lieff, Cabraser, Heimann & Bernstein, LLP
Embacadero Center West, 30" Floor

275 Battery Street

San Francisco, CA 94111

(Zonolite Attic Litigation Plaintiffs)
Thomas M. Sobol, Esq.

Hagens Berman LLP

225 Franklin Street, 26" Floor
Boston, MA 02110

(Zonolite Attic Litigation Plaintiffs)
Robert M. Fishman, Esq.

Shaw Gussis Fishman Glantz Wolfson &
Towbin LLC

321 N. Clark Street, Suite 800

Chicago, IL 60610

Scott Barker

Credit Manager

Phelps Dodge Corp.

(Formerly Climax Molybdenum Marketing
Corporation)

One North Central Avenue

Phoenix, AZ 85004

Coudert Brothers

Attn: Joseph D. Farrell, Esq. and Edward H.
Tillinghast, III, Esq.

1114 Avenue of the Americas

New York, NY 10036
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 14 of 20

(Counsel to Marco Barbanti)

Darrell W. Scott

Lukins & Annis, P.S.

1600 Washington Trust Financial Center
717 West Sprague Avenue

Spokane, WA 99201-0466

(Missouri Department of Revenue)
Missouri Department of Revenue
Bankruptcy Unit

Gary L. Barnhart

PO Box 475

Jefferson City, MO 65105-0475

(Peters, Smith & Company)

Mr. Charles C. Trascher III, Esq.
Snellings, Breard, Sartor, Inabnett &
Trascher, LLP

PO Box 2055

Monroe, LA 71207

(The Baupost Group LLC)

Gary M. Becker, Esq.

Kramer Levin Naftalis & Frankel LLP
919 Third Avenue

New York, NY 10022

(Attorney General of PA(Commonwealth of
PA, Dept. of Revenue)

Christopher R. Momjian

Senior Deputy Attorney General

ID. No. 057482

Office of Attorney General

21 S. 12" Street, 3. Floor

Philadelphia, PA 19107-3603

Denise A.Kuhn

Office of Attorney General
21S. 12" Street, 3" Floor
Philadelphia, PA 19107-3603

(Snack, Inc.)

Gibson, Dunn & Crutcher LLP
200 Park Avenue

New York, NY 10166

(Snack, Inc.)

Vahe Melkonian

Newco Management Company, LLC
6320 Canoga Avenue, Suite 1430
Woodland Hills, CA 91367

(W.C. Baker, E.E. Jaques, B.H. Miller, M.R.
Fisher, S.R. Ormsbee, M. Rea and the Fisher
Trust)

Richard B. Spector, Esq.

Mark M. Monachino, Esq.

Corbett & Steelman

18200 Von Karman Avenue, Suite 200
Irvine, CA 92612-1086

(Counsel to AON Consulting, Inc.)
Barry D. Kleban, Esq.

Adelman Lavine Gold and Levin
Suite 900

Four Penn Center

Philadelphia, PA 19103

Michael Selig

Westover Investments, L.L.C.
555 Old Garth Road
Charlottesville, VA 22901

(Hearthside Residential Corp.)

Allan H. Ickowitz, Esq.

Nossaman, Guthner, Knox & Elliott, LLP
445 South Figueroa Street, 31 Floor

Los Angeles,CA 90071

(Georgia Department of Revenue)
Oscar B. Fears, II

Assistant Attorney General

40 Capitol Square, S.W.

Atlanta, GA 30334

Philip J. Ward

Victoria Radd Rollins
Williams & Connolly LLP
725 Twelfth Street NW
Washington, DC 20005
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 15 of 20

Ralph R. Mabey

Penrod W. Keith

LeBoeuf, Lamb, Greene & MacRae, LLP
1000 Kearns Building

Salt Lake City, UT 84101

Kelley B. Gelb

700 Southeast Third Avenue
Suite 100

Fort Lauderdale, FL 33316-1186

Margaret A. Holland

Deputy Attorney General

New Jersey Attorney General’s Office
Division of Law

R.J. Hughes Justice Complex

P.O. Box 106

Trenton, NJ 08625

Craig A. Slater, Esq.
Harter,Secrest & Emery LLP
Twelve Fountain Plaza

Suite 400

Buffalo, NY 14202

Rachel Jeanne Lehr

Deputy Attorney General
Office of the Attorney General
R.J.Hughes Justice Complex
P.O. Box 093

Trenton, NJ 08625

Larry A. Feind

133 Peachtree Street, N.E.
7" Floor

Atlanta ,GA 30303

Bryan Shapiro

Bear, Stearns & Co. Inc.
383 Madison Avenue
New York, NY 10179

(Counsel to County Of Dallas)

Elizabeth Weller

Linebarger Goggan Blair & Sampson, LLP
2323 Bryan Street, Suite 1720

Dallas, TX 75201-2691

Mr. Mark Hankin

HanMar Associates, M.L.P.
P.O. Box 26767

Elkins Park, PA 19027

(Counsel to Travelers Casualty and Surety
Company)

Lynn K. Neuner, Esq.

Simpson, Thacher, & Bartlett

425 Lexington Avenue

New York, NY 10017-3954

(Counsel to Kaneb Pipe Line Operating
Partnership LP and Support Terminal
Services, Inc.)

Gerald G. Pecht, Esq.

Fulbright & Jaworski, LLP

1301 McKinney, Suite 5100

Houston, TX 77010-3095

Jonathan D. Berger, Esq.
Russell Henkin, Esq.

Berger & Montague, P.C.
1622 Locust Street
Philadelphia, PA 19103-6365

(Counsel to Louis S. Robles, Esq. and
Robles Law Center, P.A.)

Nicholas J. LePore, III

Schnader Harrison Segal & Lewis LLP
Suite 3600, 1600 Market Street
Philadelphia, PA 19103
Case 01-01139-AMC Doc 7571-12

(Counsel to Novak Landfill RD/RA Group)
Noel C. Burnham, Esq.

Richard G. Placey, Esq.

Montgomery, McCracken, Walker &
Rhoads LLP

123 South Broad Street

Avenue of the Arts

Philadelphia, PA 19109

DACA V, LLC

Attn: Julie Bubnack

2120 W. Washington Street
San Diego, CA 92110

(Counsel to Lawson Electric Co.)
Ronald D. Gorsline

Chambliss, Bahner, & Stophel, P.C.
1000 Tallan Building, Ste. 1000
Two Union Square

Chattanooga, TN 37402-2552

Jon Bauer

Contrarian Capital Management, LLC
411 West Putnam Avenue, Suite 225
Greenwich, CT 06830

(Counsel to County of San Diego)
Martha E. Romero

Law Offices of Martha E. Romero and
Associates

7743 South Painter Avenue, Suite E
Whittier, CA 90602

(Counsel to National Union Fire Insurance
Co. of Pittsburgh, PA)

Michael S. Davis, Esq.

Zeichner Ellman & Krause

575 Lexington Avenue

New York, NY 10022

(Counsel to The Burlington Northern and
Santa Fe Railway Company)

Richard A. O’ Halloran, Esq.

Burns, White & Hickton, LLC

531 Plymouth Road, Suite 500

Plymouth Meeting, PA 19462

Filed 01/14/05 Page 16 of 20

(Counsel to Crossroads Industrial Park, Inc.
and Weedsport Associates, LLC)

Scott Estelle, President

Crossroads Industrial Park, Inc.

P.O. Box 220

Weedsport, NY 13166

(Counsel to the City of Knoxville)
Hillary Browning-Jones

Assistant City Attorney

P.O. Box 1631

Knoxville, TN 37901

(Counsel to Westcor)

Don C. Fletcher, Esq.

The Cavanagh Firm, P.A.
1850 North Central Avenue
Suite 2400

Phoenix, AZ 85004

(Carteret Venture)

Mr. Harvey Schultz

The Schultz Organization
4 Woods End

Ocean, NJ 07712-4181

(Counsel to State of New York, Dept. of
Taxation and Finance)

Barbara G. Billet, Esq.

Elaine Z. Cole, Esq.

New York State Department of Taxation and
Finance

340 E. Main Street

Rochester, NY 14604

James J. Restivo, Esq.

Reed Smith LLP

435 Sixth Avenue

Pittsburgh, PA 15219
(Counsel to West Group)
Michael S. Sandberg, Esq.
Hellmuth & Johnson, PLLC
10400 Viking Drive, Suite 560
Eden Prairie, MN 55344
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 17 of 20

(Counsel to Certain Underwriters at Lloyd’s

London)

Thomas J. Quinn, Esq.
Mendes & Mount, LLP

750 Seventh Avenue

New York, NY 10019-6829

(Counsel to the U.S. Environmental
Protection Agency)

Jerel L. Ellington, Esq.

U.S. Department of Justice
Environmental Enforcement Section
999 18" Street; Suite 945-North Tower
Denver, CO 80202

(Counsel to the State of Minnesota)
Ann Beimdiek Kinsella

Assistant Attorney General

445 Minnesota Street, Suite 1200
St. Paul, MN 55101-2127

(Counsel to Union Tank Car Company)
Deborah L. Thorne, Esq.

FabelHaber LLC

55 East Monroe Street, 40" Floor
Chicago, IL 60603

Jenny J. Hyun, Esq.
Weingarten Realty Investors
2600 Citadel Plaza Drive
Houston, TX 77008

Brad N. Friedman

Rachel Fleishman

Milberg Weiss Bershad Hynes & Lerach
LLP

One Pennsylvania Plaza

New York, NY 10119-0165

Xerox Capital Services, LLC
Attention: Cathy Flowers

800 Carillon Parkway

St. Petersburg, FL 33716-9876

(Counsel to Royal Insurance)

Carl Pericone, Esq.

Wilson, Elser, Moskowitz, Edelman, Dicker
LLP

150 East 42™ Street

New York, NY 10019-5639

(Counsel to James Grau, Anna Grau and
Harry Grau & Sons, Inc.)

Edward L. Jacobs, Esq.

Bankemper & Jacobs

The Shaw House

26 Audubon Place

P.O. Box 70

Fort Thomas, KY 41075-0070

(Counsel to Ben Bolt-Palito-Blanco ISD,
Brownsville ISD, Cameron County,
Hildalgo County, Orange Grove, Orange
Grove ISD, Premont ISD)

Lori Gruver Robertson, Esq.

Linebarger Goggan Blair Pena & Sampson,
LLP

1949 South IH. 35 (78741)

P.O. Box 17428

Austin, TX 78760

(Counsel to Carrollton-Farmers Branch
Independent School District)

Andrea Sheehan, Esq.

Law Offices Of Robert E. Luna, P.C.
4411 North Central Expressway
Dallas, TX 75205

(Counsel to Cornell University)
Anthony F. Parise

Cornell University

Office of University Counsel

300 CCC Building, Garden Avenue
Ithaca, NY 14853-2601

(Counsel to Citadel Investment Group, LLC)
Citadel Investment Group, L.L.C.
Attn: S. Jay Novatney

131 South Dearborn Street, 36" Floor
Chicago, IL 60603
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 18 of 20

(Counsel to the Libby Mine Claimants)
Daniel C. Cohn, Esq.

Cohn & Whitesell LLP

101 Arch Street

Boston, MA 02110

(Counsel to Enron Corp., et al.)
General Counsel

Enron Energy Services

1400 Smith Street

EB 0889

Houston, TX 77002

(Inventory Attorneys on behalf of all clients

of the Robles law firm)

Thomas Tew, Esq.

Jeffrey Tew, Esq.

Tew Cardenas Rebak Kellogg Lehman
DeMaria Tague Raymong & Levin, LLP

201 South Biscayne Boulevard, Suite 2600

Miami, FL 33131

(Counsel to Town of Acton, MA)
Thomas O. Bean

Nutter, McClennen & Fish, LLP
World Trade Center West

155 Seaport Blvd.

Boston, MA 02210

(Federal Insurance Company)
Jacob C. Cohn, Esq.

Cozen O’Connor

1900 Market Street
Philadelphia, PA 19103

Contrarian Capital Trade Claims LP
Attn: Alisa Minsch

411 W. Putnam Ave. $-225
Greenwich, CT 06830-6263

Debt Acquisition Co of America V LLC
2120 W. Washington Street
San Diego, CA 92110-2052

Longacre Master Fund Ltd.
Attn: Maurie Shalome

810 7" Avenue, 22" FI.
New York, NY 10019-5818

Sierra Asset Management LLC
2699 White Rd., Ste. 225
Irvine, CA 92614-6264

Trade-Debt.Net
P.O. Box 1487
West Babylon, NY 11704-0487

Edward B. Cottingham, Jr.
Motley Rice LLC

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

(Fireman’s Fund Insurance Company)
Jeffrey Kaufman, Esq.

Gerald F. Ellersdorfer, Esq.

Kaufman & Logan LLP

100 Spear Street, 12" Floor

San Francisco, CA 94105

Ed Cottingham, Jr., Esq.
Motley Rice LLP

28 Bridgeside Boulevard
P. O. Box 1792

Mount Pleasant, SC 29465

John Preefer, Esq.

John Preefer

60 East 42" Street, Suite 1201
New York, NY 10165

Elio Battista, Jr., Esq.

Blank Rome LLP

1201 Market Street, Suite 800
Wilmington, DE 19801
Case 01-01139-AMC Doc 7571-12 Filed 01/14/05 Page 19 of 20

Michael B. Schaedle, Esq.
Matthew J. Siembieda, Esq.
Benjamin G. Stonelake, Esq.
Scott E. Coburn, Esq.

Blank Rome LLP

One Logan Square

130 North 18" Street
Philadelphia, PA 19103

Michael S. Etkin, Esq.
Ira M. Levee, Esq.
Lowenstein Sandler PC

65 Livingston Avenue
Roseland, NJ 07068

David E. Wilks, Esq.

Buchanan Ingersoll PC

The Nemours Building

1007 N. Orange Street, Suite 1110
Wilmington, DE 19801

(Gamma Holding, NV)

Kennedy Covington Lobdell
& Hickman, LLP

Hearst Tower, 47" Floor
214N. Tryon Street

Charlotte, NC 28202
(Charlotte Transit Center, Inc.)

James S. Yoder, Esq.

White & Williams LLP

824 N. Market Street, Suite 902
Wilmington, DE 19801

(Allstate Insurance Company, Solely As
Successor-in-Interest to Northbrook Excess
and Surplus Insurance Company, Formerly
Northbrook Insurance Company)

Stefano Calogero, Esq.
Andrew K. Craig, Esq.
Cuyler Burk, LLP
Parsippany Corporate Center
Four Century Drive
Parsippany, NJ 07054

(Allstate Insurance Company, Solely As
Successor-in-Interest to Northbrook Excess
and Surplus Insurance Company, Formerly
Northbrook Insurance Company)

(Spaulding & Slye Construction LP)
Bruce D. Levin, Esq.

Peter B. McGlynn, Esq.

125 Summer Street, Suite 1300
Boston, MA 02110

James Sottile, Esq.

Zuckerman Spaeder LLP

1201 Connecticut Avenue, N.W.
Suite 600

Washington, DC 20036

Primex Plastics Corp.
1235 North F Street
Richmond, IN 47374

Brian L. Kasprzak, Esq.

Marks, O’Neill, O’Brien and Courtney, P.C.
913 North Market Street, Ste. 800
Wilmington, DE 19801

(Everest Reinsurance Company and Mt.
McKinley Insurance Company)

Mark D. Plevin, Esq.

Leslie A. Eply, Esq.

Crowell & Moring LLP

1001 Pennsylvania Avenue, N.W.
Washington, D.C. 20004-2595
(Everest Reinsurance Company and Mt.
McKinley Insurance Company)

Brian A. Sullivan, Esq.

Amy D. Brown, Esq.

Werb & Sullivan

300 Delaware Avenue, 13 Floor
P.O. Box 25046

Wilmington, DE 19899

(Peters, Smith, and Company)
Case 01-01139-AMC Doc 7571-12

RJ Lee Group Inc.
350 Hochberg Rd.
Monroeville, PA 15146

David P. Primack, Esq.

Drinker Biddle & Reath LLP

1100 North Market Street, Suite 1000
Wilmington, DE 19801

Michael F. Brown, Esq.
Drinker Biddle & Reath LLP
One Logan Square

18" and Cherry Streets
Philadelphia, PA 19103-699

Filed 01/14/05 Page 20 of 20
